Case 4:04-cr-70083-MFU-PMS Document 1019 Filed 08/02/22 Page 1 of 1 Pageid#: 8537




                              IN THE UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF VIRGINIA
                                       ABINGDON DIVISION

                                            CRIMINAL MINUTES

  Case No.: 4:04CR70083                     Date: 8/2/22


  Defendant: Anthoine Plunkett; custody                    Counsel: Arin Brenner; AFPD


  PRESENT:        JUDGE:                    Pamela Meade Sargent TIME IN COURT: 10:03-10:40 37 min
                  Deputy Clerk:             Ella Surber
                  Court Reporter:           Ella Surber, FTR
                  U. S. Attorney:           Jennifer Bockhorst
                  USPO:                     None Present
                  Case Agent:               N/A
                  Court Security Officer:   Jerry Cunningham
                  Interpreter:              N/A


  PROCEEDINGS:
  Parties present for hearing on DE 1014: Defense counsel motion to withdraw and DE 1018: Defendant’s
  pro se motion for substitution of counsel; court takes up motion ex parte, Govt counsel is excused from
  the courtroom; court hears from defendant and defense counsel; Govt returns to the courtroom and Judge
  advises the motions will be denied and Arin Brenner remains as counsel in the case. Written order to
  follow.
